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                                      Superseding Indictment (ECF 45, 2/14/24)

Count   Date             Charge                            Code                       Location
1       6/29/23          Possession of Unregistered        26 U.S.C. § 5861(d);       within the District of Columbia
                         firearm (Short-barreled rifle)    26 U.S.C. § 5845(a)(3)
2       6/29/23          Carrying a pistol w/o license     22 DC Code 4504(a)(1)      “within the District of Columbia”
                         (Scorpion CZ pistol)
3       6/29/23          Carrying a pistol w/o license     22 DC Code 4504(a)(1)      within the District of Columbia
                         (Smith & Wesson M&P Shield)
4       6/29/23          Possession of Large Capacity      7 DC Code 2506.01(b)       “within the District of Columbia”
                         Ammunition Feeding Device
5       6/29/23          Unlawful possession of 9-mm       7 DC Code 2506.01(a)(3)    “within the District of Columbia”
                         ammunition
6       6/28/23 &        False Information & Hoaxes        18 U.S.C. § 1038(a)        “within the District of Columbia and
        6/29/23                                                                       elsewhere”
7       1/6/21           Obstruction of official           18 U.S.C. § 1512(c)(2)     “within the District of Columbia and
                         proceeding                                                   elsewhere”
8       1/6/21           Enter/remain restricted bldg      18 U.S.C. § 1752(a)(1)     “in the district of Columbia”
9       1/6/21           Disorderly/disruptive conduct -   18 U.S.C. § 1752(a)(2)     “in the district of Columbia”
                         restricted bldg
10      1/6/21           Disorderly conduct on Capitol     40 U.S.C. §5104(e)(2)(D)   “in the district of Columbia”
                         Grounds
11      1/6/21           Parading in a Capitol Bldg        40 U.S.C. §5104(e)(2)(G)   “in the district of Columbia”
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                                           Indictment (ECF 15, 7/1/23)

Count   Date           Charge                            Code                        Location
1       6/29/23        Carrying a pistol w/o license     22 DC Code 4504(a)(1)       “within the District of Columbia”
                       (Scorpion CZ pistol)
2       6/29/23        Possession of Large Capacity      7 DC Code 2506.01(b)        “within the District of Columbia”
                       Ammunition Feeding Device
3       1/6/21         Enter/remain restricted bldg      18 U.S.C. § 1752(a)(1)      “in the district of Columbia”
4       1/6/21         Disorderly/disruptive conduct -   18 U.S.C. § 1752(a)(2)      “in the district of Columbia”
                       restricted bldg
5       1/6/21         Disorderly conduct on Capitol     40 U.S.C. §5104(e)(2)(D)    “in the district of Columbia”
                       Grounds
6       1/6/21         Parading in a Capitol Bldg        40 U.S.C. §5104(e)(2)(G)    “in the district of Columbia”

                                          Complaint (ECF 1, 6/29/23),
                                       23-mj-00150-GMH/23-cr-00229-CJN

Count   Date           Charge                            Code                          Location
3       1/6/21         Enter/remain restricted bldg      18 U.S.C. § 1752(a)(1)       “in the district of Columbia”
4       1/6/21         Disorderly/disruptive conduct -   18 U.S.C. § 1752(a)(2)       “in the district of Columbia”
                       restricted bldg
5       1/6/21         Disorderly conduct on Capitol     40 U.S.C. § 5104(e)(2)(D)    “in the district of Columbia”
                       Grounds
6       1/6/21         Parading in a Capitol Bldg        40 U.S.C. § 5104(e)(2)(G)    “in the district of Columbia”
